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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.1
                                Eastern Division

Plumbers Pension Fund, Local 130 U.A., et al.
                                                   Plaintiff,
v.                                                              Case No.: 1:19−cv−06670
                                                                Honorable Martha M. Pacold
Starr Plumbing, Inc.
                                                   Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, January 23, 2020:


        MINUTE entry before the Honorable Martha M. Pacold: Status hearing and
motion hearing held on 1/23/2020. Plaintiffs' motion for order of default and audit [7] is
granted. The Court hereby enters a default pursuant to Rule 55(a) against defendant Starr
Plumbing, Inc. for failure to timely appear, answer or otherwise plead to Plaintiff's
complaint. Defendant is ordered to submit to an audit by Plaintiffs for the time period
1/1/2015 through 4/1/2019 to determine its full liability in this case. Plaintiffs' request for
reasonable attorneys' fees [3] is denied without prejudice. Status hearing set for 3/5/2020
at 9:45 a.m.(rao, )




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